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December 7, 2022

VIA ECF
Hon. Judge Stewart D. Aaron
Daniel Patrick Moynihan Courthouse
500 Pearl Street, Room 1970
New York, NY 10007

          Re: Carlos Alvarez Chicas et al. v. Kelco Construction, Inc. et al.
          Case No.: 1:21-cv-09014 (PAE) (SDA)

Dear Judge Aaron:
        We represent Defendants Kelco Construction, Inc., E.L.M. General Construction Corp.,
John Kelly, and Joseph Provenzano (collectively, “Defendants”) in the above-referenced matter.
We write jointly with Plaintiffs’ counsel to comply with the Court’s October 28, 2022 Order that
requires the parties to provide the Court with an update on the outcome of the parties’ mediation
(see ECF Nos. 52, 54). The parties engaged in a mediation session with Mediator Martin
Scheinman on December 6, 2022. Unfortunately, the parties were unable to resolve this matter.
The parties understand that the stay of all proceedings has ended and will prepare to proceed. The
parties jointly propose the following:
       Amended Proposed Discovery Schedule. The parties propose that the following
discovery schedule supersede the discovery dates proposed by the parties on February 24, 2022
and approved by Your Honor on March 3, 2022 (see ECF Nos. 25, 27):
               •   Interrogatories must be served no later than January 6, 2023.
               •   Initial Requests for Production must be served no later than January 6, 2023.
               •   Requests for Admission must be served no later than April 17, 2023.
               •   Depositions shall be completed by June 30, 2023.
               •   All fact discovery must be completed by July 31, 2023.
               •   Expert discovery shall be completed by September 29, 2023.


        Motion for Conditional Certification. Plaintiffs advised the court of their desire to file a
motion for conditional certification on May 26, 2022. In addition, to avoid motion practice, the
parties previously agreed that the statute of limitations with regard to the putative FLSA Collective
would be stayed for the period from June 24, 2022 until the conclusion of mediation. Accordingly,



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the stay of the statute of limitations period should now be concluded. Briefing on the motion was
stayed by the Comi on June 27, 2022 (see ECF No. 39). The paiiies have agreed upon the
following briefing schedule:

               •   Motion for Conditional Ce1iification: December 16,2022
               •   Defendants' Opposition: Januaiy20,2023
               •   Plaintiffs' Reply: Febrnaiy 6,2023

          The paiiies thank the Comi for its time and attention to this matter.

Respectfully submitted,

Isl Eli Freedberg
Eli Freedberg

ENDORSEMENT: Following a telephone conference with the parties today, it is hereby
ORDERED as follows:

(1) The Amended Proposed Discovery Schedule set forth above is approved.

(2) The foregoing deadlines may be extended for good cause, but then only for a limited
purpose.

(3) The schedule for the Motion for Conditional Certification set forth above is adopted.

(4) No later than December 19, 2023, the parties shall file a letter setting forth a proposed
schedule for any further amended pleading and the response thereto.

(5) No later than February 15, 2023, the parties shall file a joint letter regarding the status of
discovery.

(6) SO ORDERED.

Dated: December 12, 2022




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